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 1   M. BRADLEY WISHEK (SBN 121875)
     ROTHSCHILD WISHEK & SANDS LLP
 2   765 University Avenue
     Sacramento, CA 95825
 3   Telephone: (916) 444-9845
     FACSIMILE: (916) 640-0027
 4
     Attorneys for Defendant,
 5   THOMAS LU
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                   Case No.: 2:12-CR-0207 TLN
11                Plaintiff,
                                                 STIPULATION AND ORDER
12        vs.                                    CONTINUING STATUS CONFERENCE
13   THOMAS LU,                                  Date:   May 5, 2016
                                                 Time:   9:30 a.m.
14              Defendant.                       Ctrm:   2 (TLN)
15
16        The United States of America, through its counsel Assistant

17   U. S. Attorneys William Wong and Michael Anderson, and defendant

18   Thomas Lu, through his counsel M. Bradley Wishek, stipulate that

19   the status conference regarding the imposition of judgment and

20   sentence upon Mr. Lu now scheduled for 9:30 a.m. on May 5, 2016,

21   may be continued to August 4, 2016 at 9:30 a.m.

22        A continuance of the status conference is necessary

23   because, while Mr. Lu’s case has been resolved by way of a

24   guilty plea, the other defendants in the case have not yet been

25   sentenced and information pertaining to the resolution of the

26   case against those defendants may be helpful to the Court in

27   fashioning a sentence for Mr. Lu.           Therefore, the parties

28   request that the status conference regarding the imposition of


                                         - 1 –
                   STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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 1   judgment and sentence pertaining to Mr. Lu be continued to
 2   August 4, 2016, at 9:30 a.m.
 3        IT IS SO STIPULATED.
 4
 5   DATED:    May 3, 2016             By://s//M. Bradley Wishek for
                                               William Wong
 6                                             Assistant U.S. Attorney
 7   DATED:    May 3, 2016             By://s//M. Bradley Wishek_
                                               M. BRADLEY WISHEK,
 8                                             ROTHSCHILD WISHEK & SANDS
                                               LLP, Attorneys for
 9                                             Defendant Thomas Lu
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                  STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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 1                                      ORDER
 2        Good cause appearing upon the stipulation of the parties,
 3   it is ordered that the status conference regarding the
 4   imposition of judgment and sentence upon Thomas Lu now scheduled
 5   for May 5, 2016 is continued to 9:30 a.m. on August 4, 2016.
 6        IT IS SO ORDERED:
 7
 8   DATED: May 3, 2016
 9                                               Troy L. Nunley
                                                 United States District Judge
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                  STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
